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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

 MICHAEL BOYD, PAUL LEE and                         )
 KENDRICK PEARSON, on behalf of                     )
 themselves and all others similarly situated,      )
                                                    )
                                        Plaintiffs, )
                                                    )        No. 3:12-cv-704-JPG-PMF
        v.                                          )
                                                    )
 S. A. GODINEZ, Director of the Illinois            )
 Department of Corrections and RANDY                )
 DAVIS, Warden of Vienna Correctional               )
 Center, in their official capacities,              )
                                                    )
                                       Defendants. )

                                 MEMORANDUM AND ORDER

        This matter comes before the Court on the Plaintiffs’ Unopposed Motion for Leave to

 File a First Amended Complaint (Doc. 48) and Unopposed Motion for Class Certification for

 Purposes of Settlement (Doc. 33). The plaintiffs filed this putative class action seeking

 declaratory and injunctive relief with respect to the conditions of confinement at Vienna

 Correctional Center (“Vienna”). In a September 16, 2013, order, the Court found that all of the

 requirements of Federal Rules of Civil Procedure 23(a) and 23(b)(2) for class certification for

 settlement purposes had been satisfied except for Rule 23(a)(4), the adequacy of the named

 plaintiffs to represent the class. The Court noted that the named plaintiffs did not have a

 personal stake in the outcome of this litigation because they were no longer housed at Vienna

 and allowed them additional time to recruit a substitute plaintiff or to argue why they should be

 allowed to represent the class anyway. The plaintiffs have done both.

        The plaintiffs ask the Court for leave to file an amended complaint adding a new plaintiff,

 J.B. Washup, a current inmate at Vienna, and updating certain statistics and information

 regarding the plaintiffs. As a current inmate at Vienna, Washup has suffered the same alleged
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 wrongs as the current plaintiffs and has a personal stake in this lawsuit to change those

 conditions.

        Because the time for amendment as a matter of right has passed, whether the plaintiffs

 should be allowed to amend their complaint is governed by Federal Rule of Civil Procedure

 15(a)(2). Rule 15(a)(2) provides that a plaintiff may amend his pleading only with the opposing

 parties’ written consent, which the plaintiffs have not obtained, or leave of court, which the

 Court should freely give when justice requires. Generally, the decision whether to grant a party

 leave to amend the pleadings is a matter left to the discretion of the district court. Orix Credit

 Alliance v. Taylor Mach. Works, 125 F.3d 468, 480 (7th Cir. 1997); Sanders v. Venture Stores,

 56 F.3d 771, 773 (7th Cir. 1995). A court should allow amendment of a pleading except where

 there is undue delay, bad faith, dilatory motive on the part of the movant, repeated failure to cure

 deficiencies by amendments previously allowed, undue prejudice to the opposing party by virtue

 of allowance of the amendment, or futility of the amendment. Bausch v. Stryker Corp., 630 F.3d

 546, 562 (7th Cir. 2010) (citing Airborne Beepers & Video, Inc. v. AT & T Mobility LLC, 499

 F.3d 663, 666 (7th Cir. 2007)).

        It appears that Washup’s claim arises out of the same conditions of confinement and

 presents the same issues of law and fact as the other plaintiffs. Therefore, joinder of his claim in

 this case is proper under Federal Rule of Civil Procedure 20(a)(1). Furthermore, it appears that

 Washup would add significant value as a named plaintiff to this putative class action because,

 having a personal stake in its outcome, he would be a good candidate to serve as a class

 representative. Finally, the Court finds that none of the factors counseling against amendment

 are present. Accordingly, the Court GRANTS the motion for leave to amend (Doc. 48) and

 ORDERS that the plaintiffs shall have up to and including November 15, 2013, to electronically




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 file their amended complaint. The Court RESERVES RULING on the motion for class

 certification for settlement purposes (Doc. 33) until the plaintiffs file the amended complaint.

 IT IS SO ORDERED.
 DATED: October 29, 2013.

                                                       s/J. Phil Gilbert
                                                       J. PHIL GILBERT
                                                       UNITED STATES DISTRICT JUDGE




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